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                                                                Counterclaimants
             18                                                 COCHLEAR LTD. and COCHLEAR
                                                                AMERICAS
             19                                 UNITED STATES DISTRICT COURT
             20                                CENTRAL DISTRICT OF CALIFORNIA
                                                     WESTERN DIVISION
             21
             22        Alfred E. Mann Foundation For            Case No. 2:07-cv-08108-FMO-SH
                       Scientific Research, et al.,
             23                                                 JOINT REQUEST FOR
                                              Plaintiffs,       DECISIONS ON PENDING
             24                                                 MOTIONS, PURSUANT TO
                                        vs.                     LOCAL RULE 83-9.4
             25
                       Cochlear Corporation, et al.,            CHIEF JUDGE: HON. VIRGINIA A
             26                                                 PHILLIPS
                                              Defendants.
             27
             28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                             L.R. 83-9.4 JOINT
                                                            1                 REQUEST FOR DECISIONS
                                                                          Case No. 2:07-cv-08108-FMO-SH
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                  1             Pursuant to Local Rule 83-9.4, Plaintiffs Alfred E. Mann Foundation for
                  2    Scientific Research (the “Foundation”) and Advanced Bionics, LLC (“Advanced
                  3    Bionics”) (collectively, “Plaintiffs”) and Defendants Cochlear Corporation and
                  4    Cochlear Ltd. (collectively, “Cochlear”) respectfully request, to the extent Local
                  5    Rule 83-9.4 applies, that the Chief Judge of this Court establish an intended
                  6    decision date on the following motions:
                  7             1. Plaintiffs’ Motion for Summary Judgment Entering the Jury’s Damages
                  8                 Award, which briefing was completed on April 13, 2017. See Dkt. No.
                  9                 579.
             10                 2. Defendants’ Renewed Motion for Judgment as Matter of Law of Non-
             11                     Infringement of Claim 1 of the ’616 Patent, which briefing was completed
             12                     on April 13, 2017. See Dkt. No. 580.
             13                 3. Plaintiffs’ Motion for Enhanced Damages, which briefing was completed
             14                     on June 1, 2017. See Dkt. No. 602.
             15                 4. Plaintiffs’ Motion to Strike Defendants’ Supplemental Damages Brief
             16                     Regarding Damages From January 1, 2014 To March 11, 2014, which
             17                     briefing was completed on June 15, 2017. See Dkt. No. 616.
             18                 In compliance with the requirements set forth in Local Rule 83-9.2, on
             19        March 1, 2018, Plaintiffs and Cochlear submitted a Joint Request For Decisions on
             20        the above-mentioned motions. See Dkt. No. 625. Pursuant to Local Rule 83-9.3,
             21        within 30 days of the filing of the Joint Request, the Court is required to either
             22        render its decision on the submitted motions or advise the parties in writing of the
             23        date by which the decision would be rendered. L.R. 83-9.3. No decisions on the
             24        submitted motions have been rendered and filed.
             25                 The Court issued an order on March 19, 2018 stating an intended decision
             26        date of May 30, 2018. See Dkt. No. 627. On May 21, 2018, the Court issued
             27        another order extending the intended decision date until June 30, 2018. See Dkt.
             28        No. 628. Since then, the Court has issued a series of orders each month extending
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 BOCKIUS LLP                                                                                   L.R. 83-9.4 JOINT
                                                               2                    REQUEST FOR DECISIONS
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                  1    the intended decision date until the last day of the following month. See Dkt. No.
                  2    629 (June 18, 2018 order delaying intended decision date until July 31, 2018); Dkt.
                  3    No. 630 (July 19, 2018 order delaying until August 31, 2018); Dkt. No. 631
                  4    (August 17, 2018 order delaying until September 30, 2018); Dkt. No. 632
                  5    (September 25, 2018 order delaying until October 31, 2018).
                  6             To the extent L.R. 83-9.4 applies under these circumstances, the parties
                  7    hereby jointly request an intended decision date being set under L.R. 83-9.5. See
                  8    L.R. 83-9.4 (“In the event the Court fails timely to make its decision or to advise
                  9    the parties of an intended decision date, as required by L.R. 83-9.3, counsel shall
             10        then file a joint request with the Chief Judge to establish an intended decision
             11        date.”).
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MORGAN, LEWIS &
 BOCKIUS LLP                                                                                    L.R. 83-9.4 JOINT
                                                               3                     REQUEST FOR DECISIONS
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                  1    Dated:           October 10, 2018              Respectfully submitted,
                  2                                                   MORGAN, LEWIS & BOCKIUS LLP
                  3
                                                                      By /s/ Michael J. Lyons
                  4                                                      Michael J. Lyons
                                                                         Attorneys for Plaintiff
                  5                                                      ALFRED E. MANN
                                                                         FOUNDATION FOR SCIENTIFIC
                  6                                                      RESEARCH
                  7    Dated:           October 10, 2018              Respectfully submitted,
                  8                                                   MAYER BROWN LLP
                  9
             10                                                       By /s/ David E. Wang
                                                                         Donald M. Falk
             11                                                          David E. Wang
                                                                         Attorney for Involuntary Plaintiff
             12                                                          ADVANCED BIONICS, LLC
                       Dated:           October 10, 2018              Respectfully submitted,
             13
                                                                      SHEPPARD, MULLIN, RICHTER &
             14                                                       HAMPTON LLP
             15                                                       By /s/ Bruce G. Chapman
                                                                         Bruce G. Chapman
             16                                                          Attorneys for Defendants
                                                                         COCHLEAR CORPORATION
             17                                                          AND COCHLEAR LTD.
             18
             19
             20                                        FILER ATTESTATION
             21                 I, Michael J. Lyons, pursuant to L.R. 5-4.3.4(a)(2)(i), attest that all other
             22        signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
             23        content and have authorized the filing.
             24
                                                                               By:     /s/ Michael J. Lyons
             25                                                                       Michael J. Lyons
             26
             27
             28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                                        L.R. 83-9.4 JOINT
                                                                 1                       REQUEST FOR DECISIONS
                                                                                     Case No. 2:07-cv-08108-FMO-SH
                      DB2/ 35069565.2
